Case: 4:16-cv-01631-JAR Doc. #: 144 Filed: 09/08/20 Page: 1 of 16 PageID #: 4255




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

        PHYLLIS SCHLAFLY REVOCABLE
        TRUST, ET AL.

               PLAINTIFFS
                                                        CIVIL ACTION NO. 4:16-CV-01631
        v.

        ANNE CORI, ET AL.

               DEFENDANTS.

    PLAINTIFFS’ RESPONSE TO INDIVIDUAL DEFENDANTS’ MOTION TO DISMISS

        Individual Defendants—Anne Cori, Eunie Smith, Cathie Adams, Carolyn McLarty, Rosina

Kovar, and Shirley Curry—collectively moved to dismiss the Second Amended Complaint (Docs.

142 and 143). Plaintiffs, the Phyllis Schlafly Revocable Trust (“PSRT”), Eagle Trust Fund

(“ETF”),     and   Eagle   Forum    Education    and   Legal    Defense    Fund    (“Eagle    Forum

(c)(3)”)(collectively, the “Trusts”), by counsel, respond in opposition:

                            INTRODUCTION & BACKGROUND

        Plaintiffs sued nearly four years ago. Defendants never answered and avoided giving

substantive responses by argument of counsel and procedural artifice. Defendants also pursued a

strategy of delay elsewhere, ultimately, to no avail. The Southern District of Illinois entered final

judgment against the entity defendant Eagle Forum (c)(4) with prejudice (having already dismissed

the Individual Defendants). For its part, the St. Louis Probate court dismissed Cori’s claims against

these Trusts (and related trustees)—also with prejudice. 1




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  The St. Louis Probate dismissal stemmed from settlement, which has res judicata effect.
Murphy v. Jones, 877 F.2d 682 (1989).
Case: 4:16-cv-01631-JAR Doc. #: 144 Filed: 09/08/20 Page: 2 of 16 PageID #: 4256




       Most recently, EF suffered a critical defeat following a bench trial in the Madison County

Action. Judge Dugan issued a directed verdict ruling that Eagle Forum (c)(4) did not own the

Schlafly Database or much of the personal property for which it was seeking compensation or

control. The motions to dismiss here are just the latest chapter in Defendants’ dilatory efforts. All

roads lead back here and this Court should mete out the same fate as the other courts, deny

Defendants’ motions to dismiss, and proceed quickly where the Trusts are confident they will

prevail on the merits.

       The Individual Defendants seek dismissal of the 2AC for failing to state a claim upon which

relief may be granted. But their arguments are based on inappropriate factual arguments,

misconstruction of the applicable pleading standards, and mischaracterization of the 2AC.

Plaintiffs request that the Court deny the motion in its entirety. That said, if the Court holds that

any portion of the 2AC is deficient, then Plaintiffs request a chance to amend.

       Before this dispute began, the late Phyllis Schlafly owned several pieces of valuable

intellectual and intangible property—either personally or through her Trusts, including a

trademarked and copyrighted newsletter, trademarked eagle pin, and other important assets, like

her Schlafly Database of contacts and donors. In the 2AC, Plaintiffs outlined how Phyllis Schlafly

developed these assets used them as part of her Schlafly Network of nonprofit, educational, and

political organizations, which for more than five decades acted harmoniously under her leadership.

       ETF is the oldest of her entities—formed in the 1960s—and serves as the organizational

hub of the Schlafly Network. (Doc. 138, 2AC at ¶2). ETF has served as the custodian of Mrs.

Schlafly’s proprietary “Schlafly Database,” owned the copyright for and published The Phyllis

Schlafly Report; and provided organizational support (such as mail and donation processing), and

with its employees, provided coordination for the rest of the Schlafly Network that came later. Id.



                                                 2
Case: 4:16-cv-01631-JAR Doc. #: 144 Filed: 09/08/20 Page: 3 of 16 PageID #: 4257




PSRT was Phyllis Schlafly’s revocable trust (now irrevocable) settled in 1997. Id. 2AC at ¶1. It

owns her remaining personal property, including any unassigned intangible property, as well as

her registered word mark for her name, “Phyllis Schlafly.” Id. Eagle Forum (c)(3) serves as the

“charitable arm” of the Schlafly Network, Id. at ¶3, which manages most the Schlafly Network’s

education and social outreach efforts. It is the largest entity and maintains its headquarters and

archives at the Phyllis Schlafly Center in Clayton, Missouri. Id.

       Individual Defendants’ purported hostile takeover of Eagle Forum (c)(4) in April 2016

sparked this suit. Defendants had “gone rogue” and mistakenly thought that by controlling Eagle

Forum (c)(4) that they could dictate terms and use of the IP and other assets to Mrs. Schlafly and

the other members of the Network. But Eagle Forum (c)(4) was just one of many networked

entities that Phyllis Schlafly had created over the course of her lifetime. It owns none of the

disputed IP and its role was limited as the principal “lobbying arm” of the Schlafly Network, which

managed some (but not all) of the Network’s political lobbying and legislative efforts.

       As the 2AC makes clear, in the wake of the hostile takeover, Phyllis Schlafly revoked all

licenses to use intellectual property belonging to her, PSRT, and ETF in July 2016. 2AC at ¶¶114-

116. Defendants ignored the clear revocation and kept behaving as though they could use

intellectual property with impunity, even though it has never belonged to any of them. By August

2016, through a series of assignments and devises, Mrs. Schlafly consolidated her assets to the

Trusts controlled by her as trustee until her death—and now—by her oldest sons John and Bruce

Schlafly as successor trustees. Individual Defendants’ infringing activities prompted Plaintiffs to

seek nationwide injunctions and obtain damages against the Defendants for their many chaos-

inducing copy-cat events, false attributions, aping publications, and ultimate misdirection of

donations meant for the Schlafly Network.



                                                 3
Case: 4:16-cv-01631-JAR Doc. #: 144 Filed: 09/08/20 Page: 4 of 16 PageID #: 4258




        Individual Defendants also point to their failed lawsuit against Phyllis Schlafly’s American

Eagles (“PSAE”) to obfuscate the core issues here. The Defendants here sued PSAE in the

Southern District of Illinois, alleging that PSAE was infringing Eagle Forum (c)(4)’s marks and

unfairly competing against it. But Judge Rosenstengel dismissed their entire case with prejudice.

The order is attached as Exhibit 1. Further, Judge Dugan handed Defendants a significant defeat

over the Database in the Madison County Action—See directed verdict, attached as Exhibit 2.

        The Individual Defendants also seek to improperly bootstrap an earlier Southern District

order by Judge Herndon improperly suggesting that Phyllis Schlafly died intestate or that Illinois

law governed her post-mortem rights. But this is nonsense. Public records show that Mrs. Schlafly

died with a will in Missouri, which was probated in St. Louis County Probate Court. Anne Cori

challenged that will and the PSRT trust amendments already—specifically, individual defendant

Cori alleged Mrs. Schlafly was incapacitated or that the successor trustees coerced their mother

and exercised undue influence. The Probate Court dismissed Anne Cori’s challenges with

prejudice. That order is attached as Exhibit 3. Thus, Phyllis Schlafly’s Missouri will remains

valid and her assignments of her intellectual property to the Trusts are irrefutable. Mrs. Schlafly

did not pass intestate as Cori contended before Judge Herndon. In short, Defendants are suffering

repeated defeats in courts on either side of the Mississippi River. Their largely factual arguments

here are not only inappropriate for dismissal at this stage of the litigation, but point to the need for

an injunction and evidentiary hearing, not dismissal. To the extent that Individual Defendants make

legal arguments in this 12(b)(6) motion, those too are baseless.




                                                   4
Case: 4:16-cv-01631-JAR Doc. #: 144 Filed: 09/08/20 Page: 5 of 16 PageID #: 4259




                                          ARGUMENT
I.     THE SECOND AMENDED COMPLAINT IS NOT A “SHOTGUN PLEADING,”
       BUT BRINGS THE SAME CLAIMS AGAINST ALL DEFENDANTS BECAUSE
       THEY ACTED IN CONCERT WITH EACH OTHER

       The standard of review for Defendants’ 12(b)(6) motions is well understood. The

Individual Defendants first argue that the 2AC fails to allege sufficient facts against them to

support Plaintiffs’ claims. Defendants argue that the 2AC is a “kitchen-sink” pleading that

“lump[s] defendants together indiscriminately[.]” Doc. 143, page *5-6.

       To be sure, courts have admonished the practice of “shotgun pleadings” when plaintiffs

sue multiple defendants but do not distinguish the actions imparting liability to each defendant.

For example, in Neubauer v. FedEx Corp., 849 F.3d 400, 407 (8th Cir. 2017), the Court of Appeals

explained that dismissal is proper where a complaint “does not come close to pleading the ‘who,

what, where, when, and how’ of the alleged fraud.” Yet it is permissible to incorporate all

preceding factual allegations—rather than repeat all of the individual allegations for each claim.

Courts in the Eighth Circuit follow this standard. Campbell v. Lake Regional Medical

Management, Inc., Case No. 2:19-cv-04124-NKL, 2019 WL 4228894 (W.D. Mo. Sept. 5, 2019)

(collecting cases). The key consideration is whether defendants understand the claims.

       Individual Defendants should have no trouble understanding which claims Plaintiffs made

against them—as all the claims are made against all the Defendants jointly because the Plaintiffs

are alleging a concert of action. In other words, the Individual Defendants conspired and

committed tortious conduct to misappropriate and infringe the Plaintiffs’ intellectual property and

to compete unfairly against the Plaintiffs. In Paragraph 117 of the 2AC, Plaintiffs allege:

       Beginning in 2016, Defendants began conspiring to use Plaintiffs’ assets, without
       limitation, the Schlafly Database, the Eagle website, and the EAGLE, EAGLE
       LOGO, and PHYLLIS SCHLAFLY marks to further their own personal and
       political agendas instead of supporting Mrs. Schlafly or her designees.


                                                 5
Case: 4:16-cv-01631-JAR Doc. #: 144 Filed: 09/08/20 Page: 6 of 16 PageID #: 4260




Plaintiffs later state specific instances of infringing activity and unfair competition committed

jointly by the Defendants (either by each defendant personally or with that defendant’s knowledge

and support). There is a litany of misappropriation alleged, viz., that Anne Cori misappropriated

the Schlafly Database to orchestrate a robocall to support Senator Ted Cruz in the 2016 Iowa

presidential primary (which Defendants erroneously suggest is the only example of

misappropriation). Doc. 138, ¶118. And the list goes on: that the Defendants, through former ETF

employee Elizabeth Miller, covertly downloaded and hacked the encrypted Schlafly Database Id.

at ¶¶122-128; that the Defendants “continue to use the full Schlafly Database to promote their

activities, including fundraising activities and the promotion of a March 10, 2016 event in Naples,

Florida.” Id. at ¶130; that the Defendants have misappropriated or impersonated “Mrs. Schlafly’s

image, likeness, and ‘legacy’ in email letters and solicitations. Id. at ¶133(a); that the Defendants

have intentionally “confus[ed] or misattribute[ed] Mrs. Schlafly’s true endorsements or political

positions [with] those of the defendants[.]” Id. at ¶133(b); that the Defendants established “a

competing website called moeagleforum.org using Mrs. Schlafly’s image and likeness.” Id. at

¶133(e). Further, that this website misappropriates Mrs. Schlafly’s name and likeness, and uses

marks confusingly similar to Plaintiffs’ marks. Id. at ¶133(f); 134(b); and that the Defendants used

“Mrs. Schlafly’s name and likeness in connection with an event hosted by Eagle Forum(c)(4) …

on March 10, 2017 in Naples, Florida.” Id. at ¶133(g). These but a handful of the many instances

of tortious conduct described in the 2AC. These allegations must be taken as true. The Trusts have

sufficiently alleged identifiable instances of infringement and unfair competition to put Individual

Defendants on notice of their actionable behavior.

       Defendants’ overarching argument is that most allegations do not attribute the conduct to

a single defendant, but to all. To recap, this is because Defendants engaged in a single conspiracy



                                                 6
Case: 4:16-cv-01631-JAR Doc. #: 144 Filed: 09/08/20 Page: 7 of 16 PageID #: 4261




and acting in concert. The Individual Defendants also are acting through Eagle Forum (c)(4) as its

putative officers and directors (although control of this entity is still contested in Madison County).

Without discovery, therefore, Plaintiffs have no feasible way to know which specific defendant

authorized or perpetrated each instance of infringement or unfair competition—either to benefit

personally—or on behalf of co-defendant Eagle Forum (c)(4). Pleading claims against

“defendants” collectively is permissible in cases involving a concert of action. See, e.g., Kyle K.

v. Chapman, 208 F.3d 940, 944 (11th Cir. 2000):

       Defendants complain that the allegations are too general because they collectively
       accuse all the defendants of all of the acts. … The fact that defendants are accused
       collectively does not render the complaint deficient. The complaint can be fairly
       read to aver that all defendants are responsible for the alleged conduct.

All of Eagle Forum (c)(4)’s leaders are personally liable for the tortious acts that they commit on

behalf of that entity. “By the great weight of authority it is recognized that officers of a corporation

are personally liable, or are jointly liable with the corporation, to one whose money or property

has been misappropriated by them to the uses of the corporation, although they derived no personal

benefit therefrom and acted merely as agents of the corporation-the theory being that an agent

cannot escape the consequences of his tort by the fact that he committed the tort as agent for his

principal.” Matter of Transport Clearings-Midwest, Inc., 16 B.R. 890, 895-896 (Bankr. W.D. Mo.

1979), quoting 152 A.L.R. 696, 705 (1944). See also In re Wendt, 355 B.R. 769, 772 (Bakr. W.D.

Mo. 2006) (stating that “officers and directors of corporations are personally liable to the extent

that their tortious acts result in harm to a third party (collecting cases)); Boyd v. Wimes, 664 S.W.2d

596, 598 (Mo. Ct. App. 1984) (“[T]he corporate office does not insulate against liability one who

has actual or constructive knowledge of the actionable wrong and who participates therein.”).

       The 2AC is not a “shotgun pleading,” but asserts a conspiracy to misappropriate the

Schlafly Database, infringe Plaintiffs’ intellectual property, and to compete unfairly against

                                                   7
Case: 4:16-cv-01631-JAR Doc. #: 144 Filed: 09/08/20 Page: 8 of 16 PageID #: 4262




Plaintiffs in which all Defendants participated. The 2AC contains specific instances of

infringement and unfair competition and the Defendants cannot assert that they do not understand

what they are being accused of doing.

II.    ILLINOIS NONPROFIT LAW DOES NOT SHIELD THE INDIVIDUAL
       DEFENDANTS FROM PERSONAL LIABILITY

       Second, the Individual Defendants argue that the Plaintiffs have failed to state a claim

against them because the Illinois Not for Profit Corporation Act protects them, specifically Ill.

Comp. Stat. 105/108.70. See Doc. 143, p. 7-9. That statute provides that directors and officers

“serving without compensation” of not for profit Illinois corporations cannot be held liable for

damages resulting from their exercise of judgment or discretion “unless the act or omission

involved willful or wanton conduct.” (emphasis added). “Willful or wanton conduct” involves

“actual or deliberate intention to cause harm” or “utter indifference to or conscious disregard for

the safety of others or their property.” 805 Ill. Comp. Stat. 105/108.70(d).

       Defendants’ argument is a straw man. For one, Plaintiffs dispute whether the Individual

Defendants have been paid or otherwise compensated by Eagle Forum (c)(4). 2 Plaintiffs also

alleged intentional torts and that Defendants acted with deliberate intent to cause harm.

Defendants’ infringing acts and instances of unfair competition confuse Plaintiffs’ supporters into

believing that Defendants are the “heirs” to Phyllis Schlafly’s legacy and the owners of her IP.

       Plaintiffs allege that the Defendants perpetrated a “conspir[acy] to use Plaintiffs’ assets…

to further their own personal and political agendas[.]” Doc. 138, ¶117. Plaintiffs laid out that in

furtherance of the conspiracy, Defendants “covertly appropriated a full copy of the secret Schlafly




2
 Contrast Individual Defendants Brief, “Here, it is undisputed that Individual Defendants are not
paid for their services to Eagle Forum.” Doc. 143 at *8.

                                                 8
Case: 4:16-cv-01631-JAR Doc. #: 144 Filed: 09/08/20 Page: 9 of 16 PageID #: 4263




Database” using an ETF employee, who later began working for the Defendants. Id. at ¶¶122-128.

Plaintiffs assert that the Defendants are “confusing or misattributing Mrs. Schlafly’s true

endorsements or political positions … in an intentional and willful attempt to undermine her

reputation, image, likeness, legacy, and … effectiveness[.]” Id. at ¶133(b). Plaintiffs contend that

the Defendants diverted ETF’s mail to Eagle Forum (c)(4)’s new office location. Id. at ¶144.

Plaintiffs also allege that “the referenced Defendants have already or will improperly acquire,

disclose, and use Plaintiffs’ trade secrets without consent of any kind for those Defendants’ own

financial gain.” Id. at ¶169. Plaintiffs point out that Defendants purposefully accessed and disabled

email accounts belonging to ETF employees. Id. at ¶314. Plaintiffs finally allege that each

Individual Defendants has “willfully committed wrongful acts” within the Eastern District of

Missouri. Id. at ¶¶5-10. In short, the 2AC is teeming with allegations describing willful and wanton

conduct committed by the Individual Defendants.

III.   PLAINTIFFS ALLEGED THAT THEY PROTECTED THEIR TRADE SECRETS,
       AND THAT DEFENDANTS WRONGFULLY ACQUIRED AND USED THEM

       Third, Defendants argue that Plaintiffs’ claims for trade secret misappropriation under the

federal Defend Trade Secrets Act (“DTSA”) (Count I) and the Missouri Uniform Trade Secrets

Act (“MUTSA”) (Count V) should fail because the 2AC lacks allegations establishing that the

Plaintiffs took “adequate steps” to protect their trade secrets. Doc. 143, p. 9-11. Defendants further

argue that the Plaintiffs have not alleged “that the Individual Defendants have improperly acquired

or disclosed” the Plaintiffs’ trade secrets. Id. at p. 10-11. At best, these are disputed factual

questions.

       Both the DTSA and the MUTSA require that, for information to qualify as a protectable

trade secret, the owner “has taken reasonable measures to keep such information secret[,]” 18

U.S.C. § 1839(3), or that the owner has exerted “efforts that are reasonable under the circumstances

                                                  9
Case: 4:16-cv-01631-JAR Doc. #: 144 Filed: 09/08/20 Page: 10 of 16 PageID #: 4264




to maintain its secrecy[,]” RSMo § 417.453(4). The “trade secret” here is the Schlafly Database,

“a compilation of business contacts and specific information on some 400,000 plus individuals

and organizations, including their donation records to many of the [Schlafly Network] entities,

contact information, and other information collected by Mrs. Schlafly that have proven valuable

for fundraising efforts over the past 50 years.” Doc. 138, ¶153. In their 2AC, Plaintiffs allege: ETF

maintained the Schlafly Database but never disclosed it to any of the other Schlafly Network

entities. Instead the separate entities paid or reimbursed ETF for services and ETF used the

Schlafly Database to facilitate communications and solicitations on behalf of the other entities. Id.;

Mrs. Schlafly “never rented, sold, or disclosed the Schlafly Database to any third parties[,]” and

“never allowed it to be electronically transferred to anyone.” Id. at ¶52; before digitizing the

Schlafly Database on the cloud, “hard-copy backups of the Schlafly Database were … locked in

Mrs. Schlafly’s personal safe deposit box.” Id. at ¶53; and that “Full, interactive access to the

current digital Schlafly Database is available on only one [ETF] computer … Two other computers

at the same location have had limited access to the database. All three computers are—and have

at all times been—kept in the locked offices of [ETF] with access granted only to several [ETF]

employees, including [JoAnn] Jouett, Georgia Wolters, and Liz Miller.” Id. at ¶54.

       In other words, only select ETF employees and the ETF trustees could access the Schlafly

Database. None of the Individual Defendants had this access, despite being members of the Eagle

Forum (c)(4) board of directors. Apart from ETF, none of the Schlafly Network entities could

access the Schlafly Database. The Database existed on a secure, cloud platform. Defendants only

obtained access through Elizabeth Miller’s subterfuge—at the direction of Individual

Defendants—and the data that she stole had to be hacked by the SpearTip “cyber

counterintelligence” firm.



                                                 10
Case: 4:16-cv-01631-JAR Doc. #: 144 Filed: 09/08/20 Page: 11 of 16 PageID #: 4265




       In their brief, Defendants seek to distinguish Lyn-Flex W., Inc. v. Dieckhaus, 24 S.W.3d

693 (Mo. App. E.D. 1999), a case directly on point. In Lyn-Flex, the Missouri Court of Appeals

found that the plaintiff had presented sufficient evidence of reasonable secrecy measures to

withstand a motion for directed verdict. As for the purported trade secret—a price book containing

customer information—the plaintiff produced evidence that: 1.) “the employees knew that the

price book was confidential,” 2.) “that access was limited,” 3.) “it was locked in an office at night

and old copies were shredded,” 4.) “the price book was not taken from the office except during

sales calls,” and 5.) “the technical support engineer was the only person with the capability to print

it.” 24 S.W.3d at 699. The court explained “[w]hile the existence of a confidentiality or

noncompete agreement may be further evidence of the book’s confidentiality, the lack of such

agreements is not conclusive[.]” Id. See also Smart Team Glob., LLC v. HumbleTech LLC, Case

No. 19-CV-4873, 2020 WL 2836465, at *4 (S.D.N.Y. June 1, 2020) (finding that a complaint

sufficiently pleaded reasonable efforts to maintain secrecy under the DTSA where the trade secret

“is stored in a password-protected “Bitbucket,” [and] that only employees with a need to access

the Bitbucket are provided with the Bitbucket password”).

       ETF implemented protective measures at least as rigorous as Lyn-Flex: ETF restricted

access to the Schlafly Database to only ETF employees who used or edited the Database, stored it

on a password-protected cloud server, and encrypted the materials. Interactive access to the

Database was available on only a single computer in ETF’s office. In trying to distinguish Lyn-

Flex, the Individual Defendants suggest in their Brief that “the only persons permitted to access

the price book … were the officers of the company and a technical support engineer employee.”

Doc. 143 at *10. That statement is unsupported by the opinion itself—the court specifically noted

that “employees, even [defendant] Dick [Dieckhaus], who had worked for the company for many



                                                 11
Case: 4:16-cv-01631-JAR Doc. #: 144 Filed: 09/08/20 Page: 12 of 16 PageID #: 4266




years, referred to the book for reference when giving pricing and specific information.” 24 S.W.3d

at 699 (emphasis added). In other words, employees at Lyn-Flex could access the book, but only

the tech support engineer could print it.

       Individual Defendants further argue that Plaintiffs have not alleged that the Defendants

“misappropriated” the Schlafly Database. Doc. 143, p. *10-11. Misappropriation exists where

there has been either “acquisition of a trade secret of another by a person who knows or has reason

to know that the trade secret was acquired by improper means,” or “use of a trade secret of another

[without consent] by a person who … used improper means to acquire knowledge of the trade

secret [or] knew or had reason to know that the … trade secret was … derived from a person who

had used improper means to acquire the trade secret[.]” 18 U.S.C. § 1839(5). Here, the Plaintiffs

have alleged improper acquisition and use of the Schlafly Database. Plaintiffs alleged that the

Defendants improperly acquired the Database from ETF employee Liz Miller, who stole it from

ETF’s computer and delivered it to SpearTip for decryption. Doc. 138 at ¶¶120-129. Plaintiffs

allege that the Defendants then used the Schlafly Database to “promote their activities, including

fundraising activities and the promotion of a March 10, 2016 event in Naples, Florida.” Id. at ¶130.

Plaintiffs have therefore alleged both improper acquisition and unlawful use of the Database.

IV.    PLAINTIFFS ALLEGED INFRINGEMENT OF THEIR MARKS

       Fourth, Individual Defendants argue that the 2AC does not have allegations of “any actual

use or infringement by Individual Defendants or Plaintiffs’ purported trademarks.” Doc. 143, p.

11-12. This contention is baseless. Plaintiffs have alleged, for example, that the Individual

Defendants: started a competing website using a logo much like the Plaintiffs’ Eagle Logo, Doc.

138, ¶133(a); used the Plaintiffs’ Eagle, Eagle Logo, and Phyllis Schlafly marks to defame Mrs.

Schlafly and diminish the value of Plaintiffs’ marks and intellectual property, Id. at ¶133(e), (f);


                                                12
Case: 4:16-cv-01631-JAR Doc. #: 144 Filed: 09/08/20 Page: 13 of 16 PageID #: 4267




used ETF’s Eagle Logo mark to advertise the Defendants’ event on March 10, 2017 in Naples,

Florida, Id. at ¶133(i); have created and used a mark that is substantially indistinguishable from

ETF’s Eagle Logo, Id. at ¶212; and published a newsletter in direct competition with ETF’s The

Phyllis Schlafly Report and falsely states that it is the “successor to The Phyllis Schlafly Report”—

even though ETF still publishes The Phyllis Schlafly Report, Id. at ¶¶332-339; 346-347. Plaintiffs

have alleged many instances of trademark dilution and misappropriation.

V.     FEDERAL COURTS HAVE RECOGNIZED A POST-MORTEM RIGHT TO
       PUBLICITY, CONSISTENT WITH NATIONWIDE TREND EVEN WHEN THE
       DECEDENT’S HOME STATE HAS NOT YET RECOGNIZED SUCH A RIGHT

       Fifth, the Individual Defendants argue that Plaintiffs’ claim for violating publicity rights

(Count VI) fails because Missouri has not yet recognized a postmortem right of publicity. Doc.

143, p. 12-14. The Defendants rely on a Sixth Circuit decision, Memphis Dev. Found. v. Factors

Etc., Inc., 616 F.2d 956, 958-960 (6th Cir. 1980) for the proposition that a federal court should not

recognize a postmortem right if the decedent’s home state has not yet recognized that right. But

the overwhelming national trend favors protection of postmortem rights of publicity, with twenty-

three states recognizing this right and only two rejecting it. The Sixth Circuit noted that the holding

in Memphis Development “was subsequently undermined when the Tennessee Court of Appeals

rejected its reasoning and declared the right of publicity was descendible under Tennessee.”

Herman Miller, Inc. v. Palazzetti Imports and Exports, Inc., 270 F.3d 298, 324 (6th Cir. 2001).

The Herman Miller Court then reached the exact opposite conclusion of Memphis Development—

although Michigan had not yet recognized a postmortem right of publicity, the Sixth Circuit opined

“that Michigan courts would recognize” that right and ruled that “the district court did no err in

recognizing a post-mortem right of publicity under Michigan common law.” Id. at 324, 326.




                                                  13
Case: 4:16-cv-01631-JAR Doc. #: 144 Filed: 09/08/20 Page: 14 of 16 PageID #: 4268




       At least one court in the Eighth Circuit has followed suit. The District Court for the District

of Minnesota held that the national trend was for federal courts to recognize a postmortem right of

publicity arising in states that had not yet determined whether the right exists. In Paisley Park

Enterprises, Inc. v. Boxill, 299 F. Supp. 3d 1074, 1082 (D. Minn. 2017) (involving postmortem

publicity for the late musician Prince), the district court explained that “[t]he clear weight of

authority from jurisdictions that have addressed this issue supports a conclusion that the right of

publicity is a property right that is enforceable by the decedent’s estate.” (collecting cases and

authorities). The district court again emphasized that the Eighth Circuit had concluded before that

a right of publicity exists as a matter of Minnesota common law. Id. at 1083. The district court

held such a right exists in Minnesota given the overwhelming national trend supporting the

existence of a descendible, postmortem publicity right.

       Missouri already recognizes a right of publicity and actions for false endorsement. Bear

Foot, Inc. v. Chandler, 965 S.W.2d 386, 389 (Mo. Ct. App. 1998). There is no basis for Missouri

to buck the overwhelming nationwide trend and find that the right of publicity does not extend

postmortem. 3 Absent a statute to the contrary, this court should follow the Eighth Circuit guidance

and apply Missouri common law recognizing postmortem publicity rights.

       The Individual Defendants also argue that the SDIL Court has already ruled that Anne Cori

possesses an ownership interest in Phyllis Schlafly’s right of publicity under Illinois law. Eagle

Forum v. Phyllis Schlafly’s American Eagles, Case No. 3:16-cv-00946 (S.D. Ill. October 16, 2017)

(Memorandum and Order, Doc. 95). This argument is a red herring for three reasons. First, none

of the Plaintiffs here were parties to SDIL (including PSRT, the owner of the right of publicity),



3
    Defendants argue that dicta in Bear Foot suggests Missouri would not recognize a postmortem
right. But Bear Foot involved whether a corporation had a right of publicity, not a public figure.

                                                 14
Case: 4:16-cv-01631-JAR Doc. #: 144 Filed: 09/08/20 Page: 15 of 16 PageID #: 4269




and PSAE never alleged that it owned Mrs. Schlafly’s right of publicity. Second, the SDIL order

ignores the assignment by Mrs. Schlafly of her right of publicity to PSRT as well as the pour-over

provision in her will. See Doc. 57 at ¶¶20-21. Third, Anne Cori petitioned in the St. Louis County

Probate Court challenging that same amendment, which is now dismissed with prejudice. This

validates of Mrs. Schlafly’s assignment to PSRT and her last will and testament.

VI.    PLAINTIFFS’ TORTIOUS INTERFERENCE CLAIM IS NOT BASED ON THE
       MADISON COUNTY LAWSUIT

       Finally, Individual Defendants argue that Plaintiffs’ tortious interference claim (Count IX)

should be dismissed because the Defendants’ “conduct was authorized by the” Madison County

Action. Doc. 143, p. 14-16. This argument is a misrepresentation of Plaintiffs’ claim. Plaintiffs do

not seek to impose liability on the Defendants for filing a lawsuit in Madison County or complying

with orders elsewhere. The bases for this claim involve actions unrelated to that lawsuit. The

Plaintiffs allege that the Defendants: “[A]ccessed and ‘shut down’ email accounts for Eagle Forum

(c)(3) employees[;]” Doc. 138, ¶314; Prevented ETF from servicing websites unrelated to Eagle

Forum (c)(4); Id., ¶¶318-319; and “[I]nterfere[d] with the receipt of Plaintiffs’ mail” and caused a

mail dispute with the Postal Service causing Plaintiffs being denied their mail and donations for

nearly two months; Id., ¶¶320-321. None of these allegations relate to the filing of the Madison

County lawsuit, but are willful and malicious instances of the Defendants’ conduct.

                                         CONCLUSION
       For the reasons described above, the Plaintiffs have sufficiently pleaded all of their claims.

The Court should therefore deny this motion in its entirety. If, however, the Court determines that

any aspect of Plaintiffs’ 2AC is deficient, Plaintiffs request the opportunity to amend and cure any

pleading deficiency.




                                                15
Case: 4:16-cv-01631-JAR Doc. #: 144 Filed: 09/08/20 Page: 16 of 16 PageID #: 4270




                                                     Respectfully submitted,

                                                     RHOADES MCKEE PC

Date: September 8, 2020                              /s/Ian A. Northon
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                                   CERTIFICATE OF SERVICE

I hereby certify that on this 8th day of September, 2020, we served a true copy of the foregoing
through the Court’s Electronic Filing System on all counsel of record.

                                                  /s/ Ian A. Northon


                                 CERTIFICATE OF COMPLIANCE

I herby certify that we used a 12-point font and doubled-space formatting under Local Rule 2.01
and otherwise conformed this brief under Local Rule 4.01(d) at fewer than 15 total pages,
exclusive of the signature block and attachments.

                                                  /s/ Ian A. Northon

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                                                16
